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                                                    Hearing Date and Time: To be determined.
                                                         Response Deadline: October 25, 2019
                                                          Reply Deadline: November 15, 2019


PAUL, WEISS, RIFKIND, WHARTON &
GARRISON LLP
1285 Avenue of the Americas
New York, New York 10019
Tel: 212-373-3000
Fax: 212-757-3990
Andrew N. Rosenberg
Aidan Synnott
William A. Clareman

Counsel for the Foreign Defendants

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                             Chapter 15

 PERFORADORA ORO NEGRO, S. DE R.L. DE C.V., Case No. 18-11094 (SCC) (Jointly
 et al.                                     Administered)

 Debtors in a Foreign Proceeding.
 GONZALO GIL-WHITE, PERSONALLY AND IN               Adv. Pro. No. 19-1294(SCC)
 HIS CAPACITY AS FOREIGN REPRESENTATIVE
 of PERFORADORA ORO NEGRO, S. DE R.L. DE
 C.V. AND INTEGRADORA DE SERVICIOS
 PETROLEROS ORO NEGRO, S.A.P.I. DE C.V.

                             Plaintiff,

                      -against-

 ALP ERCIL; ALTERNA CAPITAL PARTNERS,
 LLC; AMA CAPITAL PARTNERS, LLC; ANDRES
 CONSTANTIN ANTONIUS-GONZÁLEZ; ASIA
 RESEARCH AND CAPITAL MANAGEMENT LTD.;
 CQS (UK) LLP; FINTECH ADVISORY, INC.;
 DEUTSCHE BANK MEXICO, S.A., INSTITUCIÓN
 DE BANCA MÚLTIPLE; GARCÍA GONZÁLEZ Y
 BARRADAS ABOGADOS, S.C.; GHL
 INVESTMENTS (EUROPE) LTD.; JOHN
 FREDRIKSEN; KRISTAN BODDEN; MARITIME
 FINANCE COMPANY LTD.; NOEL BLAIR
 HUNTER COCHRANE, JR; ORO NEGRO PRIMUS
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 PTE., LTD.; ORO NEGRO LAURUS PTE., LTD.;
 ORO NEGRO FORTIUS PTE., LTD.; ORO NEGRO
 DECUS PTE., LTD.; ORO NEGRO IMPETUS PTE.,
 LTD.; PAUL MATISON LEAND, JR.; ROGER
 ALAN BARTLETT; ROGER ARNOLD HANCOCK;
 SEADRILL LIMITED; SHIP FINANCE
 INTERNATIONAL LTD.; and DOES 1-100

                                Defendants.

                    NOTICE AND MOTION TO DISMISS COMPLAINT
                      FOR LACK OF PERSONAL JURISDICTION


               PLEASE TAKE NOTICE THAT, upon the accompanying Foreign Defendants’

Memorandum of Law in Support of Their Motion to Dismiss for Lack of Personal Jurisdiction,

and all pleadings and proceedings heretofore had before this Court, Defendants Asia Research and

Capital Management Ltd., Alp Ercil, CQS (UK) Ltd., GHL Investments (Europe) Ltd., and Ship

Finance International Ltd., (collectively, the “Foreign Defendants”), by its undersigned counsel,

will move before the Honorable Shelley C. Chapman, United States Bankruptcy Judge, in

Courtroom 623 of the United States Bankruptcy Court, Southern District of New York, One

Bowling Green, New York, New York, 10004, at a date and time to be determined by the Court,

pursuant to Federal Rules of Civil Procedure 12(b)(2), for the entry of an Order (i) dismissing the

Complaint in its entirety as against the Foreign Defendants, and (ii) granting such other and further

relief as this Court may deem just and proper. (Hereinafter, the “Motion.”)

               PLEASE TAKE FURTHER NOTICE that objections, if any, to the Motion must

be in writing, must conform to the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”) and the Local Rules of the Bankruptcy Court for the Southern District of New York, must

set forth the name of the objecting party, the basis for the objection and the specific grounds

therefore, and must be filed with the Bankruptcy Court, by no later than October 25, 2019, and

any objection must further be served upon (i) Paul, Weiss, Rifkind, Wharton & Garrison LLP,


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1285 Avenue of the Americas, New York, New York 10019, Attn: Andrew N. Rosenberg, Esq.,

Aidan Synnott, Esq., William A. Clareman, Esq., and Claudia Tobler, Esq., attorneys for Ad Hoc

Defendants; (ii) Quinn Emanuel Urquhart & Sullivan, LLP, 1300 I Street NW, Washington, D.C.,

Attn: Juan P. Morillo, Esq., attorney for Plaintiffs; and (iii) those parties who have filed a notice

of appearance in the above referenced adversary proceeding.

               PLEASE TAKE FURTHER NOTICE, that a hearing will be held with respect to

the Motion on a date and at a time to be determined by the Court.


Dated: August 26, 2019
New York, New York                                   PAUL, WEISS, RIFKIND, WHARTON
                                                     & GARRISON LLP

                                                     /s/ William A. Clareman
                                                     Andrew N. Rosenberg
                                                     Aidan Synnott
                                                     William A. Clareman
                                                     Claudia Tobler
                                                     Daniel A. Crane
                                                     Christopher Hopkins
                                                     Crystal Johnson

                                                     1285 Avenue of the Americas
                                                     New York, New York 10019
                                                     Telephone: (212) 373-3000
                                                     Facsimile: (212) 757-3990
                                                     arosenberg@paulweiss.com
                                                     asynott@paulweiss.com
                                                     wclareman@paulweiss.com
                                                     ctobler@paulweiss.com
                                                     dcrane@paulweiss.com
                                                     chopkins@paulweiss.com
                                                     cjohnson@paulweiss.com

                                                     Counsel for the Foreign Defendants




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